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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA
VALDOSTA DIVISION

YANIRA YESENIA OLDAKER,

KEYNIN JACKELINE REYES RAMIREZ,
ANA ADAN CAJIGAL,

MBETI NDONGA,

CONSOLIDATED CASE NO.

7:20-CV-00224-WLS-MSH

PETITIONERS,
V.

THOMAS P, GILES, THE ACTING
DIRECTOR OF THE ATLANTA FIELD

CUSTOMS ENFORCEMENT: CHAD CONSENT MOTION
WOLF, THE ACTING SECRETARY OF LO REVISE
HOMELAND SECURITY; WILLIAM SCHEDULING ORDER
BARR, THE U.S. ATTORNEY GENERAL;
TONY H. PHAM, SENIOR OFFICIAL
PERFORMING THE DUTIES OF THE
DIRECTOR OF U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT: DAVID
PAULK, WARDEN OF THE IRWIN
COUNTY DETENTION CENTER; HENRY
LUCERO, THE EXECUTIVE
ASSOCIATION DIRECTOR OF
ENFORCEMENT AND REMOVAL
OPERATIONS OF IMMIGRATION AND
CUSTOMS ENFORCEMENT: PATRICK
MUSANTE, THE ASSISTANT FIELD
OFFICE DIRECTOR OF THE ATLANTA
FIELD OFFICE OF U.S. IMMIGRATION
AND CUSTOMS ENFORCEMENT;
IMMIGRATION AND CUSTOMS
ENFORCEMENT; AND DEPARTMENT OF
JUSTICE.

 

RESPONDENTS.

 

 

 
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CONSENT MOTION TO REVISE SCHEDULING ORDER

This Consent Motion to Revise Scheduling Order is entered into by and
between Petitioners Yanira Yessenia Oldaker, Keynin Jackeline Reyes Ramirez,
Ana Adan Cajigal, Mbeti Ndonga, and the Respondents.

For the purposes of this Consent Motion to Revise Scheduling Order, the
term Respondents shall include the following individuals and agencies: Thomas P.
Giles, the Acting Director of the Atlanta Field Office of Immigration and Customs
Enforcement; Chad Wolf, the Acting Secretary of Homeland Security; William
Barr, the U.S. Attorney General; Tony H. Pham, Senior Official Performing the
Duties of the Director of U.S. Immigration and Customs Enforcement; David
Paulk, Warden of the Irwin County Detention Center; Henry Lucero, the Executive
Associate Director of Enforcement and Removal Operations of Immigration and
Customs Enforcement; Patrick Musante, the Assistant Field Office Director of the
Atlanta Field Office of U.S. Immigration and Customs Enforcement; Immigration
and Customs Enforcement; Department of Justice; and Department of Justice.

RECITALS

Whereas on November 9, 2020, Petitioner Yanira Yessenia Oldaker filed a

Petition for Writ of Habeas Corpus and Declaratory and Injunctive Relief alleging

retaliation, discrimination, and prior restraint in violation of the First and Fifth

 

 
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Amendments and seeking protection as a witness in an ongoing federal
investigation and release pending adjudication (originally filed at 7:20-cv-224),
Whereas on November 16, 2020, Petitioner Keynin Jackelin Reyes Ramirez
filed a Petition for Writ of Habeas Corpus and Declaratory and Injunctive Relief
alleging retaliation, discrimination, and prior restraint in violation of the First and
Fifth Amendments and seeking protection as a witness in an ongoing federal
investigation and release pending adjudication (originally filed at 7:20-cv-231),
Whereas on November 17, 2020, Petitioner Ana Adan Cajigal filed a
Petition for Writ of Habeas Corpus and Declaratory and Injunctive Relief alleging
retaliation, discrimination, and prior restraint in violation of the First and Fifth
Amendments and seeking protection as a witness in an ongoing federal
investigation and release pending adjudication (originally filed at 7:20-cy-237).
Whereas on November 23, 2020, Petitioner Mbeti Ndonga filed a Petition
for Writ of Habeas Corpus and Declaratory and Injunctive Relief alleging
retaliation, discrimination, and prior restraint in violation of the First and Fifth
Amendments and seeking protection as a witness in an ongoing federal
investigation and release pending adjudication (originally filed at 7:20-cy-224),
Whereas Petitioners Oldaker, Reyes Ramirez, and Cajigal filed pending

Motions for Temporary Restraining Orders.

 

 
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Whereas Petitioner Ndonga intends to file a Motion for Temporary
Restraining Order.

Whereas the U.S. Attorney’s Office for the Middle District of Georgia was
conflicted out of representing the Respondents in this case.

Whereas the U.S. Attorney’s Office for the Southern District of Georgia
entered Notices of Appearance on behalf of the Respondents.

Whereas the Court consolidated the Petitioners’ cases by Order dated
November 18, 2020. See Docket No, 13, 7:20-cv-231.

Whereas the Court set a hearing on the pending Motions for Temporary
Restraining Orders in Petitioners’ consolidated cases on December 2, 2020 at 10
a.m.

Whereas the pending Petitions for Writs of Habeas Corpus and related
Motions for Temporary Restraining Orders involve complex legal issues and
require extensive briefing.

Whereas Petitioners’ counsel anticipate that additional individuals detained
at the Irwin County Detention Center will file Petitions for Writs of Habeas Corpus
and related Motions for Temporary Restraining Orders based on substantially
similar factual allegations as the Petitioners.

Whereas the Parties do not wish to unduly burden this honorable Court.

Whereas the Parties seek to promote judicial economy;

 

 
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Whereas the Parties are cooperating and conferring in good faith in an effort

to reach a setilement in this case.

Whereas the Parties believe that additional time would benefit settlement

negotiations.

NOW, THEREFORE, the Parties agree to the following terms and conditions:

. The Parties stipulate that the Respondents are served in satisfaction of the

Federal Rules of Civil Procedures.

On or before December 1, 2020, undersigned counsel for the Petitioners will
notify undersigned counsel for the Respondents of all the individuals
detained at the Irwin County Detention Center who they know of, who wish
to file Petitions for Writs of Habeas Corpus and related Motions for
Temporary Restraining Orders based on substantially similar factual
allegations as those raised by Petitioners.

Respondents will not remove Petitioners or any individuals named pursuant
to the aforementioned paragraph from the United States until the Court holds
a hearing on Petitioners’ Motions for Temporary Restraining Orders and
issues an Order on Petitioners’ Motions for Temporary Restraining Orders.
Specifically, the Petitioners and any individuals named pursuant to the
aforementioned paragraph shall remain in the United States until the hearing

on the Petitioners’ Motions for Temporary Restraining Orders is held or later.

 
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4, Pending approval from the Court, Petitioners shail file on or before December
21, 2020, a Consolidated Petition for Writ of Habeas Corpus and related
Consolidated Motion for Temporary Restraining Order for all individuals at
the Irwin County Detention Center whose cases are based on substantially
similar factual allegations as the Petitioners.

5, Pending approval from the Court, Respondents shall file their Response brief
on or before January 7, 202).

6. Pending approval from the Court, Petitioners shall file their Reply brief on or
before January 21, 202).

7. The Parties jointly seek leave of the Court to continue the hearing on the
Petitioners’ pending Motions for Temporary Restraining Orders, and any
other pending motions, until after the week of January 21, 202! at a date and
time to be set by the Court.

8. Throughout the time this Consent Motion to Revise Scheduling Order is in
effect, the Parties will continue to cooperate and confer in good faith in an

effort to reach a settlement in this case.

Respectfully submitted, this 24" day of November 2020,

/s/ Elora Mukherjee
Elora Mukherjee

 

 
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Counsel for Petitioners

* Application for admission pro hac vice forthcoming

 

 

W. Louis Sa Sands, Sr Jud ig
United States District Court

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UNITED STATES ATTORNEY

/s/ Jason W, Blanchard

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